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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL
EMPLOYEES, AFL-CIO, et al.,

                       Plaintiffs,
                                                       Case No. 1:25-cv-00596-ELH
               v.

SOCIAL SECURITY
ADMINISTRATION, et al.,

                       Defendants.



   DEFENDANTS’ MOTION TO FILE ADMINISTRATIVE RECORD UNDER SEAL

       In its March 27, 2025 Scheduling Order, the Court ordered Defendants to file the

Administrative Record today, April 2, 2025, by 3:00 p.m. Defendants respectfully move for leave

to file the Administrative Record under seal pursuant to Local Rule 105.11. Plaintiffs oppose the

relief requested in this motion.

       The Social Security Administration’s Administrative Record contains sensitive, nonpublic

information that includes measures SSA uses to safeguard its information and systems, which if

made public could allow bad actors to circumvent agency privacy and security controls. Although

these policies and manuals are controlled unclassified information (32 C.F.R. Part 2002), SSA still

safeguards these records from unauthorized and public dissemination, and they are not policies

and manuals that SSA would normally disclose to the public under the Freedom of Information

Act (5 U.S.C. § 552). The Administrative Record also includes personnel records and personal

information of SSA’s DOGE Team members that is protected by the Privacy Act of 1974 and would
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not be released under FOIA. Further, the Administrative Record includes agreements with other

agencies that may contain nonpublic and sensitive information about or from those other agencies.

       To ensure Plaintiffs and this Court have access to information contained in the

Administrative for purposes of Plaintiffs’ forthcoming motion for preliminary injunction, SSA

cannot merely redact all the records. Redaction would also be impractical given the short time

SSA has had to compile the Administrative Record in these expedited proceedings. Thus, SSA

seeks to file the Administrative Record under seal.

                                        CONCLUSION

       For the foregoing reasons, Defendants’ motion for leave to file the Administrative Record

under seal should be granted.

Dated: April 2, 2025                         Respectfully submitted,

                                             YAAKOV M. ROTH
                                             Acting Assistant Attorney General
                                             Civil Division, Federal Programs Branch

                                             ELIZABETH J. SHAPIRO
                                             Deputy Branch Director
                                             Civil Division, Federal Programs Branch

                                              /s/ Bradley P. Humphreys
                                             BRADLEY P. HUMPHREYS
                                             Senior Trial Counsel
                                             MARIANNE F. KIES
                                             SAMUEL HOLT
                                             BENJAMIN S. KURLAND
                                             SIMON G. JEROME
                                             Trial Attorneys
                                             Civil Division, Federal Programs Branch
                                             United States Department of Justice
                                             1100 L Street NW
                                             Washington, DC 20005
                                             Telephone: (202) 305-0878
                                             Bradley.Humphreys@usdoj.gov




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                             Kelly O. Hayes
                             Interim United States Attorney

                             MICHAEL J. WILSON
                             USDC Md Bar No. 18970
                             Assistant United States Attorney
                             36 S. Charles St., 4th Floor
                             Baltimore, Maryland 21201
                             Tel: (410) 209-4941
                             Fax: (410) 962-2310
                             Michael.Wilson4@usdoj.gov

                             Attorneys for Defendants




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                               CERTIFICATE OF SERVICE

       I certify that on April 2, 2025, I electronically filed the foregoing and thereby caused a

copy to be served on counsel of record.

                                                    /s/ Bradley P. Humphreys
                                                    BRADLEY P. HUMPHREYS
